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 AO 440(Rev.06/12)SummonsinaCivilAction

                                U N ITED STATES D ISTRICT C OURT
                                                      forthe
                                            southernDistrictofFlorida Zv
                    James Kozubal




                           V.                                  CivilAction No.
 ResurgentCapitalServices L.P d/b/a LVNV Funding
                       LLC




                                          SUM M ONS IN A CIVIL ACTION
To:(Depnaant'
            snameandadaress)Resurgentcapitalservicesd/b/a LVNV Funding LLC
                            1201 Hays streetTallahassee FI32301




         A lawsuithasbeen filed againstyou.

        W ithin21daysafterserviceofthissllmmonsonyou (notcountingtheday youreceived it)- or60daysifyou
are the United Statesora United Statesagency,oran om cerorem ployeeoftheUnited Statesdescribed in Fed. R.Civ.
P.12(a)(2)or(3)- you mustserveon theplaintiffananswerto theattachedcomplaintoramotionunderRule 12 of
theFederalRulesofCivilProcedure. The answerorm otion mustbeserved on the plaintifforplaintiff'sattorney,
whose nam eand addressare: J
                            ames Kozubal
                           101 Caloosa StreetApt5 TavernierFI33070




        Ifyou failto respond,judgmentbydefaultwillbeenteredagainstyouforthereliefdemanded inthecomplaint.
You also mustfileyouranswerormotion w ith thecourt.


                                                                 CLERK OF COURT
      Case 4:24-cv-10073-JEM Document 1-2 Entered on FLSD Docket 09/17/2024 Page 2 of 2

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 CivilAction No.
                                                 PRO O F O F SERW CE
                 (TkissectionshouldnotâeFle#withthertlar/unlessrequiredbyFe2 #.Civ.Jt44/2)

          Thissumm onsfor(nameofindividualandtitle,l
                                                   /kay,
                                                       l
 wasreceived by me on (date)

          O Ipersonally served thesumm onson the individualat+lace)


          D Ileftthe sum monsatthe individual'sresidenceorusualplaceofabode with (name)
                                                    ,
                                                      a person ofsuitable age and discretion who residesthere,
          on (date)                       ,and m ailed a copy to the individual's Iastknown address;or
          I
          D lserved the summ onson (nameofindividual
                                                   )                                                           ,who is
           designated by law to acceptservice ofprocesson behalfof(nameoforgantkation)
                                                                      on (date)

          (
          D lreturned the sum monsunexecuted because

          O Other(spechl:



           My feesare$                     fortraveland$                   forservices,foratotalof$      p(y
                                                                                                          .
                                                                                                           .
                                                                                                                         .

           ldeclareunderpenaltyofperjurythatthisinformationistrue.


  Date:




  Additionalinformation regarding attem pted service,etc:
